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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION



 ENTRI, LLC,                               Case No. 1:24-cv-00569-AJT-WEF

           Plaintiff,
 vs.
                                           REDACTED - PUBLIC
 GODADDY.COM, LLC,

           Defendant.



                      DEFENDANT GODADDY.COM, LLC’S BRIEF
              IN SUPPORT OF ITS MOTION TO DISMISS COUNTS I, V, AND VI




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 I.        INTRODUCTION

           After a year of unsuccessfully trying to get Defendant GoDaddy.com, LLC (“GoDaddy”)

 to agree to a licensing deal to permit Plaintiff Entri, LLC’s (“Entri”) aggregator program—Entri

 Connect—to configure GoDaddy domains, Entri has now turned to antitrust law to try to compel

 a result it could not obtain through arms-length negotiation. Entri’s antitrust theory is that

 GoDaddy, by updating its terms of use to prohibit aggregator programs, has somehow engaged in

 an illegal “negative tying” scheme; and GoDaddy, by communicating that change to the software

 companies using Entri’s aggregator, has coerced these software companies into an illicit agreement

 to exclude Entri from the domain configuration market. Based on these theories, Entri’s First

 Amended Complaint (“FAC”) brings an antitrust claim for alleged violations of Section 1 of the

 Sherman Act (Count I). Entri also asserts claims for tortious interference with current and

 prospective contracts based on GoDaddy’s communications to software companies regarding its

 updated terms of use (Counts V and VI). Each of these claims must be dismissed for failure to

 state a claim.

           First, Entri’s “negative tying” antitrust theory fails because Entri has not alleged an

 agreement that conditions the registration of domains with GoDaddy (the “tying” product) on the

 buyer forgoing the purchase of Entri’s aggregator product (the “tied” product). Such an agreement

 is a factual impossibility, as Entri’s aggregator product is licensed by third-party software

 companies, not end customers who registered domains with GoDaddy. GoDaddy cannot coerce

 its customers into forgoing the purchase of a product not offered to them for sale. Even if

 GoDaddy’s customers could buy Entri’s product, GoDaddy lacks sufficient market power to stop

 them from doing so: Entri alleges GoDaddy has only 19% to 24% market share, and GoDaddy’s

 customers may freely switch to another domain registrar—as Entri itself did—if they desire to use

 Entri’s product.

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           Second, Entri’s “agreement in restraint of trade” antitrust theory fails because Entri has

 alleged no facts demonstrating concerted action by GoDaddy and the software companies to

 exclude Entri from the market for domain configuration services. Rather, Entri alleges that

 GoDaddy independently updated its terms of use and implemented several technical measures to

 prevent its users from accessing Entri’s product. GoDaddy’s mere after-the-fact communication

 of these changes to software companies does not establish an agreement to exclude Entri. Nor

 does Entri allege any facts supporting its identified competitive harms: decreased consumer choice

 and increased prices. Quite the contrary, Entri brags that software companies have largely refused

 to pay for GoDaddy’s in-house configuration product and have continued using Entri’s product,

 undermining any contention that consumers cannot access Entri’s product and must buy

 GoDaddy’s in-house product at supra-competitive prices.

           Finally, Entri’s tortious interference claims fail because GoDaddy merely communicated

 its new policy to software companies; this does not constitute improper means necessary to

 maintain a tortious interference claim. Moreover, Entri fails to identify whether the contracts

 allegedly interfered with were terminable at will, and whether GoDaddy had any knowledge that

 Entri had prospective contracts with the software companies that GoDaddy communicated with

 after updating its terms of use. These are necessary elements for tortious interference claims under

 Virginia law.

           For these reasons, and the other reasons explained below, Entri’s antitrust and tortious

 interference claims (Counts I, V, and VI) must be dismissed for failure to state a claim.




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 II.       BACKGROUND

           A.     GoDaddy is a Domain Registrar.

           The internet is a network of interconnected computers. See Sallen v. Corinthians

 Licenciamentos LTDA, 273 F.3d 14, 18-19 (1st Cir. 2001). To navigate the internet, each

 interconnected computer must have a unique numeric address, known as an Internet Protocol or

 “IP” address. See Am. Online, Inc. v. Huang, 106 F. Supp. 2d 848, 851 (E.D. Va. 2000). IP

 addresses are strings of numbers that are difficult to remember, but the “Domain Name System”

 (DNS) allows a more easily remembered word or phrase—the “domain name”—to be associated

 with an IP address. See FAC, Dkt. 22 ¶ 30. 1 Use of domain names thus makes it easier to navigate

 to a particular website. For instance, rather than needing to remember a complex list of numbers,

 you need only enter “GoDaddy.com,” the domain name, into a web browser to navigate to

 GoDaddy’s website.

           To obtain a domain name, users rely on companies called domain “registrars.” The domain

 registrar market is fragmented, and GoDaddy is one of many domain registrars. Id. ¶¶ 31, 149.

 The registrar function is passive: a registrar’s computers receive requests to register domain names

 and, if no one has yet registered those domains, the registrar’s computers can automatically handle

 the registration. See Am. Girl, LLC v. Nameview, Inc., 381 F. Supp. 2d 876, 879 (E.D. Wis. 2005).

 For a fee and pursuant to a registration agreement, the registrar will associate the domain name

 with an accompanying IP address and make it available to the DNS, rendering it an operational

 internet address. See Network Sols., Inc. Umbro Int’l, Inc., 529 S.E. 2d 80, 84-86 (Va. 2000). Once




 1 Many of the “facts” presented in this Background section are based on Entri’s allegations in the
 FAC. Consistent with the standard of review on a motion to dismiss, GoDaddy accepts those
 allegations as true for purposes of this motion, but GoDaddy neither concedes nor admits that
 Entri’s allegations are accurate.

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 registered, the registrant can use the domain name and select what visitors see when they navigate

 to that domain on the internet. FAC, Dkt. 22 ¶ 33. GoDaddy does not sell or own the domain

 names that customers register with GoDaddy. Rather, GoDaddy and other registrars merely

 facilitate the registration of the domain names to their customers (the domain registrants). Id.

 After registering domains with GoDaddy, users are free to switch to an alternative registrar.

 Indeed, Entri itself switched from GoDaddy to Cloudflare for its own domain name, entri.com.

 See id. ¶ 153.

           B.     GoDaddy’s In-House Domain Connect Protocol Configures DNS Settings.

           To enable certain functions or designs on their domains, users of domains may turn to

 third-party software companies that provide various domain services (“SaaS Companies”). Id.

 ¶¶ 35-36. For instance, domain users might rely on a SaaS Company’s application to process

 payments or issue newsletters. See id. ¶¶ 34, 43. To function, the applications must be integrated

 with the user’s domain. Id. ¶ 47. Integration requires updating the domain’s DNS records to

 ensure all the applications are properly mapped to the domain and all the necessary data appears

 when a user navigates to the domain. Id. ¶ 49.

           In the past, updating domain records was solely a manual process: registrants would have

 to log into their account with their domain registrar and update the DNS records for each SaaS

 Company based on the instructions from that company. Id. ¶ 53. To simplify this process,

 GoDaddy developed the Domain Connect protocol. Id. ¶ 56. Domain Connect established a

 common language, providing third-party SaaS Companies with an agreed-upon standard to use for

 updating DNS records of domains registered with GoDaddy. Id. ¶ 57. Using Domain Connect,

 SaaS Companies can create templates that contain the required DNS record changes for the

 application to function properly with domains. Id.



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           C.     Entri’s Aggregator Program, Entri Connect, Integrates with GoDaddy’s
                  Domain Connect Protocol to Configure DNS Settings.

           In 2021, Entri launched Entri Connect. Id. ¶ 61. Entri Connect is a program that can be

 used by SaaS Companies to automate the process by which users of domains update DNS records.

 Id. Once a SaaS Company purchases and enables Entri Connect, domain users may navigate to

 the SaaS application to update their DNS records. Id. ¶ 63. From within the SaaS application,

 domain users enter their domain into the Entri Connect window. Id. Entri Connect will then detect

 the registrar associated with the domain, request the domain user’s registrar account credentials,

 and automatically update the DNS records. Id. ¶¶ 65-67. Products like Entri Connect are known

 as “aggregators.” Id. ¶ 101.

           Entri Connect is sold to SaaS Companies and only accessed by end consumers who register

 domains within the SaaS application; domain registrars (e.g., GoDaddy) and registrants (e.g.,

 GoDaddy’s customers) do not buy Entri Connect. Id. ¶ 70 (“SaaS companies have implemented

 Entri Connect”); id. ¶ 74 (“SaaS companies typically spend 1 and 2 hours integrating Entri Connect

 into their applications”); id. ¶ 75 (Entri Connect “provides SaaS companies . . . an out-of-the-box

 solution and ongoing support”); see also Entri Terms of Use (“We license our technology to

 Application Developers . . .”), available at https://www.entri.com/tos (last visited on July 30,

 2024).

           When Entri initially released Entri Connect, GoDaddy’s users would log into Entri Connect

 from the relevant SaaS application and authorize the program to automatically update DNS

 records. Id. ¶ 85. At first, Entri Connect accomplished this without use of GoDaddy’s Domain

 Connect protocol. Id. Beginning in April 2022, after conversations with GoDaddy representatives,

 Entri agreed that Entri Connect would use the Domain Connect protocol to configure DNS records

 for GoDaddy domains. Entri and GoDaddy subsequently signed a one-year Domain Connect


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 Licensing Agreement, whereby Entri agreed to send GoDaddy templates, consistent with the

 Domain Connect protocol, that set forth the required DNS settings for a particular SaaS company’s

 application. Id. ¶¶ 86-88. GoDaddy would then onboard that template, which would allow Entri

 Connect to configure DNS records between a specific SaaS Company and GoDaddy domains.

 FAC ¶¶ 87-88. Under the License Agreement, Entri paid GoDaddy a fee to use the Domain

 Connect protocol, and a fee every time a template was updated.

           D.    Because of Technical Complexity, GoDaddy No Longer Supports DNS
                 Configuration through Aggregators.

           Once the License Agreement expired on April 7, 2023, GoDaddy and Entri engaged in

 further discussions regarding a continued business relationship and licensing agreement. FAC

 ¶¶ 94-97. During these negotiations, Entri aggressively pushed GoDaddy for various concessions

 regarding exclusivity. In September 2023, Entri’s CEO, Abe Storey, repeatedly requested that

 GoDaddy agree to a three-year agreement under which GoDaddy would make Entri its exclusive

 aggregator and would agree to highlight Entri as the preferred option in working with GoDaddy

 for all template updates. Entri also pushed for GoDaddy to adopt the so-called “Universal

 Template,” which would require an extensive re-write of GoDaddy’s product template and

 extensive testing due to the widespread effect of the changes. FAC ¶ 93. Entri’s offer was

 untenable, but GoDaddy nonetheless continued good-faith negotiations and even circulated a

 proposed agreement on October 24, 2023, without the aforementioned requirements. See FAC

 ¶¶ 96–97. Entri balked at GoDaddy’s offer, and the parties’ negotiations subsequently fell apart.

 Id. ¶ 98.

           Given Entri’s unreasonable demands, including their technical complexity, GoDaddy

 opted against using Entri for DNS configuration. On January 11, 2024, GoDaddy sent Entri a

 termination letter making clear that the Domain Connect Licensing Agreement expired and Entri’s


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 access to Domain Connect was terminated. FAC ¶ 102. GoDaddy then forwent use of Entri

 Connect and instead chose, as it had done previously, to support direct integration through its

 in-house Domain Connect protocol. FAC ¶¶ 100-101. GoDaddy took several steps to implement

 this change, such as informing SaaS companies to use Domain Connect for DNS integration,

 removing old Entri Connect templates from its platform, and updating its “GoDaddy API Terms

 of Use Agreement” to prohibit Entri Connect from using GoDaddy’s Application Programming

 Interfaces (“API”). Id. ¶¶ 101, 106, 118-119.

           E.     Entri Violates GoDaddy’s Terms of Use.

           Entri continued to use GoDaddy’s API to perform DNS configuration despite GoDaddy’s

 termination of the Licensing Agreement and GoDaddy’s Terms of Use prohibiting such practice.

 Moreover, the Entri Connect portal mimicked the look and feel of GoDaddy’s log-in credential

 page and contained the GoDaddy name and mark, intending to mislead and confuse GoDaddy

 domain registrants into believing that Entri and GoDaddy had an ongoing business relationship

 (they did not). See FAC ¶¶ 184, 186. To protect its intellectual property and correct the false

 impression given to GoDaddy domain registrants, GoDaddy sent Entri a cease-and-desist letter on

 March 7, 2024. See FAC ¶ 181. Still, Entri continues to publicly represent that it supports

 automatic DNS configuration with GoDaddy domains. See Automatic DNS Configuration

 Support, available at https://developers.entri.com/provider-list (last visited July 30, 2024).

           F.     Entri Seeks to Coerce Business Relationship Through Legal Action.

           Entri has resorted to the courts to accomplish what it could not through arms-length

 negotiations with GoDaddy. Entri filed its original complaint on April 8, 2024. See Dkt. 1. On

 July 11, Entri filed its First Amended Complaint, the operative complaint in this action, asserting

 antitrust claims. See Dkt. 22.

           In its First Amended Complaint, Entri contends that GoDaddy, by updating its terms of

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 service to prohibit Entri Connect, has engaged in a “negative tying” scheme, and, by merely

 communicating its updated policy to various SaaS companies, has imposed an unreasonable

 restraint of trade, all in violation of Section 1 of the Sherman Act (Count I). Entri further contends

 that GoDaddy has tortiously interfered with Entri’s existing and prospective contracts with SaaS

 companies through its communications related to its updated terms of use (Counts V and VI). 2

 These allegations fail to state a claim.

 III.      ENTRI’S ANTITRUST AND TORTIOUS INTERFERENCE CLAIMS MUST BE
           DISMISSED FOR FAILURE TO STATE A CLAIM.

           A.     Legal Standard.

           “[A] complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

 relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

 Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A plaintiff must thus “plead[] factual content that

 allows the court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged.” Iqbal, 556 U.S. at 678. Conclusory allegations and “formulaic recitation[s] of the

 elements of a cause of action will not do.” Id. at 678-79. The Court is “not bound to accept as

 true a legal conclusion couched as a factual allegation.” Id. at 678. “[D]etermining whether a

 complaint states a plausible claim is context specific, requiring the reviewing court to draw on its

 experience and common sense.” Ashcroft, 556 U.S. at 663-64. Pleading “[a] more complex case

 like one involving antitrust violations will require more detail.” See SD3, LLC v. Black & Decker

 (U.S.) Inc., 801 F.3d 412, 430 (4th Cir. 2015) (quoting Swanson v. Citibank, N.A., 614 F.3d 400,

 405 (7th Cir. 2010)).




 2 Entri also asserts several claims for declaratory judgment (Counts II, III, and IV), which are not
 the subject of this motion to dismiss.

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           B.     Count I: Entri’s Antitrust Claim Must Be Dismissed.

           Entri proceeds on two theories of antitrust liability: (1) negative tying and (2) restraint of

 trade. FAC ¶¶ 211-224. Both theories, as alleged in Entri’s complaint, are legally and factually

 deficient, and must be dismissed for failure to state a claim.

                  1.      Entri Does Not Plausibly Allege a Negative Tying Antitrust Claim.

           Entri cannot state a tying claim under the Sherman Act unless it plausibly alleges four

 elements: “(1) the existence of two separate products, (2) an agreement conditioning purchase of

 the tying product upon purchase of the tied product (or at least upon an agreement not to purchase

 the tied product from another party), (3) [GoDaddy’s] possession of sufficient economic power in

 the tying product market to restrain competition in the tied product market, and (4) a not

 insubstantial impact on interstate commerce.” Serv. & Training, Inc. v. Data Gen. Corp., 963 F.2d

 680, 683 (4th Cir. 1992). Entri’s negative tying claim must be dismissed because Entri fails to

 allege facts supporting the second and third elements.

                          a)      Entri Has Not Plausibly Alleged an Agreement Conditioning
                                  Purchase of the Tying Product on an Agreement Not to Purchase
                                  the Tied Product.

           To satisfy the second element, Entri must allege the existence of an agreement that

 conditions the purchase of the tying product—GoDaddy’s domain registration services—on an

 agreement not to purchase the tied product—Entri Connect. FAC ¶ 213.                        This is a

 “[f]undamental[]” antitrust requirement because, “for there to be a violation of § 1 of the Sherman

 Act[,] two or more persons must act in concert.” Laurel Sand & Gravel, Inc. v. CSX Transp., Inc.,

 924 F.2d 539, 542 (4th Cir. 1991). Entri thus must allege that GoDaddy coerces the “buyer” of

 the tying product to purchase or forgo purchasing the tied product. See, e.g., N. Pac. Ry. Co. v.

 United States, 356 U.S. 1, 5–6 (1958) (“a tying arrangement may be defined as an agreement by a

 party to sell one product but only on the condition that the buyer also purchases a different (or tied)

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 product, or at least agrees that he will not purchase that product from any other supplier.”); Tic-X-

 Press, Inc. v. Omni Promotions Co. of Ga., 815 F.2d 1407, 1415 n.15 (11th Cir. 1987) (antitrust

 plaintiff must “show that the buyer of the tied package was forced or coerced to buy the tied

 product”).

           When the buyer of the tying product is not also in the market for the tied product, an

 antitrust claim premised on a tying theory fails because a coerced “agreement” cannot exist. See

 Serv. & Training, 963 F.2d at 685-86 (tying claim failed because buyers of the tying product “do

 not even purchase repair services”—the tied product); In re Dealer Mgmt. Sys. Antitrust Litig., 313

 F. Supp. 3d 931, 960 (N.D. Ill. 2018) (dismissing negative tying claim because “dealers buy the

 tying product (DMS) but not the tied product (integration services)”). This is true even when the

 buyer of the tying product receives some benefit from the tied product; if the buyer of the tying

 product is not making a “significant economic decision” about whether to buy the tied product, a

 tying theory fails. Dos Santos v. Columbus-Cuneo-Cabrini Med. Ctr., 684 F.2d 1346, 1354 (7th

 Cir. 1982) (holding it is “anomalous to treat the patient as a buyer” of anesthesia services when

 the patient “receives the service but does so without making any significant economic decision”

 as to who provides them).

           The FAC fails to satisfy this second element. Entri alleges that there is “a coerced

 agreement between GoDaddy and its domain registration customers not to use Entri Connect.”

 FAC ¶ 213 (emphasis added). This allegation undermines Entri’s negative tying claim because

 GoDaddy’s domain registration customers do not purchase licenses for Entri Connect. To the

 contrary, Entri repeatedly alleges that SaaS companies—not end users—purchase licenses for

 Entri Connect. See, e.g., id. ¶ 61 (Entri Connect is “a program that can be used within SaaS

 companies’ online applications” (emphasis added)), ¶ 70 (“Dozens of leading SaaS companies



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 have implemented Entri Connect”), ¶ 74 (“Entri estimates that SaaS companies typically spend

 between 1 and 2 hours integrating Entri Connect into their applications”), ¶ 76 (Entri Connect

 “provides SaaS companies . . . an out-of-the-box solution and ongoing support”). Even Entri’s

 own website and terms of use make clear that Entri Connect is a product for license by SaaS

 companies, not by the end consumer registering domains with registrars like GoDaddy. See

 https://www.entri.com/ (“The easiest way for your users to set up custom domains,” “Obtain SSL

 certificates for your customers effortlessly”); https://www.entri.com/tos (“We license our

 technology to Application Developers [] to help make both your and their work easier by enabling

 you to connect with your Domain Name System (‘DNS’) provider with the Application in just a

 few clicks.”). 3 The lack of overlap between buyers of the tying product and buyers of the tied

 product requires dismissal of Entri’s claim. See In re Dealer Mgmt. Sys. Antitrust Litig., 313 F.

 Supp. 3d at 960.

           Even if this defect were not dispositive (it is), Entri’s allegations still fail to satisfy the

 second element of a tying claim because Entri does not plausibly allege that GoDaddy “conditions

 the purchase” of its services on an agreement not to buy Entri’s services in a manner prohibited by

 the Sherman Act. To the contrary, GoDaddy merely sets the terms on which others can access its

 platform, which is permissible.

           Two cases illustrate this point. The first is Sambreel Holdings LLC v. Facebook, Inc., 906

 F. Supp. 2d 1070 (S.D. Cal. 2012). That case involved Facebook’s decision “to offer its website

 only to users who would agree not to use [the plaintiff’s software] services.” Id. at 1080. Like



 3 The Court may take judicial notice of and rely on the information on Entri’s public website. See
 Cvent, Inc. v. Eventbrite, Inc., 739 F. Supp. 2d 927, 937 n.2 (E.D. Va. 2010) (taking judicial notice
 of Terms of Use on public website when deciding motion to dismiss); see also Hayes v. Maryland
 Transit Admin., 2023 WL 8829260, at *3 (D. Md. Dec. 21, 2023) (“In ruling on a motion to dismiss
 . . . the court may properly take judicial notice of matters of public record.”).

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 Entri, the plaintiff there argued that this constituted an unlawful negative tie. The court disagreed

 and dismissed the plaintiff’s antitrust claim. Id. The court held that Facebook “has a right to

 dictate the terms on which it will permit its users to take advantage of the Facebook social network”

 because “[t]here is no fundamental right to use Facebook.” Id. The court added that Facebook

 was not “preclud[ing] its users from maintaining [the plaintiff’s] applications for use on other

 websites,” so consumers could either “comply with Facebook’s terms” or “opt to use other social

 networking sites.” Id.

           The second case—Dream Big Media Inc. v. Alphabet Inc., 2022 WL 16579322 (N.D. Cal.

 Nov. 1, 2022)—reached the same outcome on similar facts. It involved Google’s Terms of

 Service, which prohibited “customers from using any component of Google’s digital-mapping API

 services with mapping services provided by non-Google firms.” Id. at *3. The plaintiff alleged

 this constituted a negative tie. The court rejected that assertion and dismissed the antitrust claim.

 It held that “Google has the right to dictate the terms on which it will permit its customers to use

 and display its mapping services,” and that “customers [who] do not want restrictions on mapping

 API services” can “use another mapping service.” Id.

           Entri’s allegations here mirror the allegations at issue in Sambreel and Dream Big Media

 and the same fate that befell those claims should follow here. GoDaddy does not prohibit use of

 Entri Connect with other domain registrars, a fact the FAC concedes. See FAC ¶ 93 (alleging Entri

 Connect is in use by IONOS and Cloudflare). Instead, GoDaddy merely set the terms on which

 users can access GoDaddy’s services, which is GoDaddy’s prerogative. Those who do not like

 GoDaddy’s terms of use can simply switch to a different domain registrar, as Entri concedes is not

 only possible, but recently accomplished. See FAC ¶ 153. Entri’s allegations thus cannot

 constitute an unlawful negative tie, which requires dismissal of Entri’s antitrust claim.



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                         b)     Entri Has Not Plausibly Alleged that GoDaddy Possesses
                                Sufficient Economic Power.

           To satisfy the third element, Entri must allege that GoDaddy has “appreciable economic

 power in the tying market” such that it can “force a purchaser to do something that he would not

 do in a competitive market.” Eastman Kodak Co v. Image Tech. Servs., Inc., 504 U.S. 451, 464

 (1992). “The existence of such power ordinarily is inferred from the seller’s possession of a

 predominant share of the market.” Id. (emphasis added). Applying that principle, antitrust claims

 have failed where the defendant did not have a majority of the market share. See, e.g., HCI Techs.,

 Inc. v. Avaya, Inc., 446 F. Supp. 2d 518, 522 (E.D. Va. 2006) (finding defendant’s market share

 of “approximately 20%” to be “hardly sufficient to establish the requisite monopoly market power

 . . . to sustain a tying claim”). Indeed, that the defendant’s product or service “may be popular . . .

 does not translate into” sufficient economic power, particularly when there are “many” other

 services “that are interchangeable with the [defendant’s services].” Nobel Sci. Indus., Inc. v.

 Beckman Instruments, Inc., 670 F. Supp. 1313, 1328 (D. Md. 1986).

           Entri alleges that GoDaddy has between 19% and 24% of the “domain registration market.”

 FAC ¶¶ 148–150. While Entri also puts forward various other “market power” metrics—including

 that “between 35% and 50%” of certain SaaS companies’ end users have GoDaddy-registered

 domains (id. ¶ 154)—these metrics are irrelevant because the only pertinent inquiry is GoDaddy’s

 market power in the market at issue, which Entri defines as “the domain registration market.” Id.

 ¶ 214. GoDaddy’s share of that market is not predominant enough to clothe it with sufficient

 economic power for purposes of an antitrust claim. See HCI Techs., 446 F. Supp. 2d at 522.

           At any rate, Entri’s allegations about GoDaddy’s “market share” are misleading. Unlike

 the products or services at issue in most tying antitrust claims, domain names are not products

 owned by registrars like GoDaddy, as Entri concedes. Rather, GoDaddy and other registrars


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 facilitate the registration of domain names—owned by registries—by end users. See FAC ¶¶ 31–

 33. Put differently, so long as a domain name is available, an end user could go to any registrar to

 register that domain name. See, e.g., Am. Girl, LLC, 381 F. Supp. at 879 (“Registrars accept

 domain name registrations on a first-come, first-served basis.”). Even after doing so, a user can

 switch registrars. Indeed, Entri itself alleges that it recently switched from GoDaddy to Cloudflare

 for its own domain name, entri.com. See id. ¶ 153. As a result, GoDaddy’s alleged “market share”

 is simply the result of free consumer choice and the popularity of GoDaddy’s services, not a

 reflection of power over a finite and static market. If GoDaddy implements terms that its end users

 do not like, they can simply switch to a different registrar—just as Entri recently did. Nothing

 binds them to GoDaddy, as the FAC’s allegations show, which undermines Entri’s allegations of

 economic power.

                  2.      Entri Does Not Plausibly Allege an Unlawful Restraint of Trade.

           Entri’s claim under Section 1 of the Sherman Act based on an agreement in restraint of

 trade must be dismissed unless Entri alleges: “(1) an agreement in the form of a contract,

 combination or conspiracy and (2) an unreasonable restraint on trade.” DataCell ehf. v. Visa, Inc.,

 2015 WL 4624714, at *8 (E.D. Va. July 30, 2015). Entri’s allegations fail to establish both

 elements. First, there is no agreement between GoDaddy and the SaaS companies to exclude

 Entri, as GoDaddy made the independent decision to prohibit its users from accessing aggregators.

 Second, GoDaddy’s refusal to support Entri Connect on its platform is not an unreasonable

 restraint on trade, as the only alleged economic harm is to Entri, a competitor, and not to

 competition generally.




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                          a)      There was No Agreement Between GoDaddy and SaaS Companies.

           Entri’s restraint of trade claim must be dismissed because the complaint fails to allege any

 facts establishing an agreement between GoDaddy and the SaaS companies to exclude end users

 from accessing Entri Connect. See Twombly, 550 U.S. at 557 (“[A] conclusory allegation of

 agreement at some unidentified point does not supply facts adequate to show illegality.”). Entri

 must allege with specificity that there was “a meeting of the minds” between GoDaddy and a

 specific SaaS company to exclude Entri. See id.; Estate Const. Co. v. Miller & Smith Holding Co.,

 Inc., 14 F.3d 213, 221 (4th Cir. 1994) (“[T]o adequately allege an antitrust conspiracy, the pleader

 must provide . . . some details of the time, place and alleged effect of the conspiracy.”). But Entri’s

 allegations make clear that GoDaddy acted independently to prohibit its users from accessing

 Entri. Monsanto Co. v. Spray-Rite Service Corp., 465 U.S. 752, 761 (1984) (“Independent action

 is not proscribed.”).

           Entri alleges that “certain SaaS companies, including but likely not limited to          and

              ,” were coerced by GoDaddy to deny their end users access to Entri Connect.

 FAC ¶ 220. Entri, however, does not allege any facts demonstrating how GoDaddy coerced these

 companies to enter such an agreement, or when these companies approved this agreement. 4 For

 instance, Entri alleges that a “GoDaddy representative told                that Entri Connect would

 no longer work with GoDaddy domains.” FAC ¶ 114. The complaint does not allege that

 GoDaddy also demanded that                       cease using Entri Connect, nor does it specify


 4 Entri alleges that one unnamed SaaS company described its meeting with GoDaddy regarding
 Entri Connect as having a “negative” “tone.” FAC ¶ 116. This one meeting with a negative tone
 is apparently Entri’s only allegation suggesting that GoDaddy attempted to coerce the SaaS
 Companies. Notwithstanding that this unidentified company’s account fails to describe any
 request or demand from GoDaddy regarding its use of Entri Connect, the unpleasant meeting
 apparently had no impact on use of Entri’s product. As stated in Entri’s complaint, the company
 told Entri after the meeting it “really like[s] your product” and was “hoping to continue to use it.”
 Id. Clearly, there was no meeting of the minds between GoDaddy and this anonymous company.

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                 response to GoDaddy’s communication or any other facts demonstrating an

 agreement. The complaint also has no allegations of communications or other dealings between

 GoDaddy and             . And GoDaddy’s open-ended reference to other potential agreements with

 “certain SaaS companies” lacks the requisite specificity to establish an anticompetitive agreement.

 See SD3, LLC, 801 F.3d at 422 (“A plaintiff in a § 1 case cannot assemble some collection of

 defendants and then make vague, non-specific allegations against all of them as a group.”).

           Instead, the allegations in the complaint make clear that GoDaddy independently enacted

 policy and technological changes preventing end users from accessing Entri Connect. See FAC

 ¶ 12 (GoDaddy “updated the company’s Terms of Use to preclude customers from authorizing

 Entri” and “implemented a series of technological measures designed to cause Entri Connect to

 malfunction.”); FAC ¶ 137 (“GoDaddy imposes upon its customers a directive . . . they will not

 use Entri Connect.”). GoDaddy’s independent decision to prohibit Entri from its platform is not

 actionable. Monsanto, 465 U.S. at 761 (“A manufacturer of course generally has a right to deal, or

 refuse to deal, with whomever it likes, as long as it does so independently.”).

           Understandably, GoDaddy communicated its new policy to the SaaS companies so they

 could adjust how their GoDaddy-registered users update DNS records. See FAC ¶¶ 100-101. But

 mere communication of the policy does not suggest a preceding agreement to exclude Entri. See

 Machovec v. Council for Nat. Reg. of Health Serv. Providers in Psychology, Inc., 616 F. Supp.

 258, 267 (E.D. Va. 1985) (“[Th]e mere exchange of information is insufficient to prove a [antitrust]

 conspiracy.”). Nor does the SaaS companies’ compliance with GoDaddy’s policy transform

 GoDaddy’s conduct into “concerted action” necessary for liability. See Monsanto, 465 U.S. at 761

 (“[T]he manufacturer can announce its resale prices in advance and refuse to deal with those who

 fail to comply. And a distributor is free to acquiesce in the manufacturer’s demand in order to



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 avoid termination.”). Such reactive conduct is not actionable absent specific allegations of an

 antitrust conspiracy. See Twombly, 550 U.S. at 554 (parallel conduct “without more” does not

 establish antitrust conspiracy). There are no such allegations here.

                          b)     There is No Unreasonable Restraint on Trade in the Market for
                                 Domain Configuration Services.

           Even if there were an agreement (there was not), Entri’s restraint of trade claim must still

 be dismissed because the complaint fails to establish any harm to competition; the only alleged

 harm is to Entri itself. Oksanen v. Page Mem. Hosp., 945 F.2d 696, 708 (4th Cir. 1991) (“[A]

 plaintiff cannot demonstrate the unreasonableness of a restraint merely by showing that it caused

 him an economic injury.”).

           Analyzing whether a restraint is unreasonable begins “by identifying the ways in which a

 challenged restraint might possibly impair competition.” Dickson v. Microsoft Corp., 309 F.3d

 193, 206 (4th Cir. 2002). Once the potential harm is identified, the inquiry then turns to “whether

 that harm is not only possible but likely and significant, which requires examination of market

 circumstances.” Id. Entri contends that GoDaddy is “restrain[ing] trade in the market for domain

 configuration services” by reducing “choices for end users” and “increasing prices.” FAC ¶¶ 179,

 221. This conclusory contention is unsupported and belied by the rest of Entri’s allegations.

           First, there has not been a reduction of choice for end users of domain configuration

 services. Entri brags that, despite GoDaddy’s efforts to restrict Entri Connect, “SaaS companies

 . . . remain with Entri even with the substantial uncertainty surrounding Entri Connect and

 GoDaddy domains.” FAC ¶ 136. In other words, the SaaS Companies who “typically control the

 end users’ access to domain configuration services” have not been dissuaded from using Entri

 Connect despite its incompatibility with GoDaddy domains. FAC ¶ 161. And GoDaddy users

 who desire to use Entri Connect may switch to any of the registrars that comprise most of the


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 domain registration market. FAC ¶ 149. Entri itself was able to switch from GoDaddy to

 Cloudflare by making just three phone calls. FAC ¶ 153; see Com. Data Servers, Inc. v. IBM

 Corp., 262 F. Supp. 2d 50, 68 (S.D.N.Y. 2003) (granting summary judgment against antitrust

 plaintiff because he “has not provided any evidence of . . . high switching costs”). GoDaddy’s

 prohibition of Entri is thus procompetitive because rival registrars may gain market share by

 offering their users access to Entri Connect.

           Second, no allegations support Entri’s contention of price increases in the market for

 domain configuration services. Despite charging for its own configuration service, Entri faults

 GoDaddy for attempting to monetize its Domain Connect protocol that it previously offered for

 free. But no allegations show that GoDaddy can charge supra-competitive prices for Domain

 Connect. In fact, Entri’s complaint does not even specify whether Domain Connect is more or less

 expensive than Entri Connect. See FAC ¶¶ 131-136. Moreover, Entri’s boastful allegations again

 doom its price increase contention: according to Entri, GoDaddy’s “attempt[s] to convert” SaaS

 companies “to paying customers of GoDaddy’s own Domain Connect services” were “met with

 extremely limited success,” and “SaaS companies have overwhelmingly declined to pay GoDaddy

 for these services.” FAC ¶ 136. By Entri’s admission, GoDaddy has failed to monetize Domain

 Connect, let alone at supra-competitive prices.

           At bottom, Entri’s complaint is not that competition has been harmed, but that it has

 suffered personal harm. See, e.g., FAC ¶¶ 173-178 (Entri has “lost volume and revenue because

 of GoDaddy”). Such personal harms are not actionable as unreasonable restraints on trade. See

 Masco Contractor Servs. E., Inc. v. Beals, 279 F. Supp. 2d 699, 706 (E.D. Va. 2003) (dismissing

 restraint of trade claim because it amounts to a “mere allegation that [defendants] violated the




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 antitrust laws as to a particular plaintiff and commodity”). Entri’s restraint of trade claim must be

 dismissed.

                  3.     Entri Fails to Allege a Cognizable Antitrust Injury.

           “[O]nce a plaintiff demonstrates a violation of § 1 [of the Sherman Act], he must prove

 that he suffered an antitrust injury: the type of injury that the anti-trust laws were intended to

 prevent and that flows from that which makes defendants’ acts unlawful.” Turner v. Va. Dep’t of

 Med. Assistance Servs., 301 F. Supp. 3d 637, 646 (E.D. Va. 2018). “The antitrust injury

 requirement ensures that a plaintiff can recover only if the loss stems from a competition-reducing

 aspect or effect of the defendant’s behavior.” Atl. Richfield Co. v. USA Petroleum Co., 495 U.S.

 328, 344 (1990) (emphasis in original); see also Dickson, 309 F.3d at 206 (defendant’s conduct

 “must harm the competitive process and thereby harm consumers”; mere “harm to one or many

 competitors will not suffice”). Entri’s antitrust claim must be dismissed for lack of antitrust injury.

           Even if Entri had plausibly alleged that GoDaddy’s conduct constitutes an unlawful

 negative tie or restraint of trade (it has not), any harm to Entri flows from GoDaddy lawfully

 exercising its right to determine its terms of service. See Dream Big Inc., 2022 WL 16579322,

 at *3 (“Google has the right to dictate the terms on which it will permit its customers to use and

 display its mapping services.”). Moreover, demand for Entri is reduced only among GoDaddy

 users, while demand in the broader market for domain configuration services is unaffected. See

 FAC ¶ 136 (SaaS companies have largely continued to offer Entri). And this reduction in demand

 may prove temporary, as GoDaddy users are free to change domain registrars. In short, Entri fails

 to allege harm caused by anticompetitive conditions within the broader market for domain

 configuration services.




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           Entri’s harms are also attenuated from the alleged negative tie and restraint of trade. See

 Shapiro v. General Motors Corp., 472 F. Supp. 636, 660 (D. Md. 1979) (“The alleged antitrust

 violation must yield an injury which is ‘direct’ and not ‘incidental.’”). As to tying, Entri alleges

 “a coerced agreement between GoDaddy and its domain registration customers not to use Entri

 Connect.” FAC ¶ 213. But all the injuries identified by Entri were caused by the economic

 decisions of the SaaS Companies, not the domain users. See FAC ¶ 174 (“at least one Entri

 customer,             , ended its relationship with Entri”); FAC ¶ 175 (“Other [potential Entri

 customers] . . . delayed in signing with Entri”); FAC ¶ 176 (Entri gave “concessions . . . to existing

 SaaS company customers” to win their business). As to restraint of trade, Entri alleges SaaS

 companies,              and           , were coerced into agreeing not to offer Entri Connect to their

 users. Id. ¶¶ 177, 220. But the FAC alleges that GoDaddy independently implemented policy and

 technology measures that made Entri Connect incompatible with GoDaddy domains. See id. ¶¶ 12,

 137. Any harm to Entri thus flows from GoDaddy’s independent actions, not concerted action

 with            and             .

           C.     Count V: Entri’s Tortious Interference with Contract Claim Must
                  Be Dismissed.

           To state a claim for tortious interference with contract, Entri must plausibly allege four

 elements: (1) “the existence of a valid contractual relationship,” (2) GoDaddy’s “knowledge of the

 relationship,” (3) “intentional interference inducing or causing a breach or termination of the

 relationship,” and (4) “resultant damages.” Duggin v. Adams, 234 Va. 221, 226 (1987). Under

 Virginia law, Entri must also identify whether the contract purportedly interfered with was

 “terminable at will.” Nortec Commc’ns, Inc. v. Lee-Llacer, 548 F. Supp. 2d 226, 232 (E.D. Va.

 2008). If it was, then Entri must also plausibly allege that GoDaddy “employed improper

 methods” to interfere with it. Duggin, 234 Va. at 228. Improper methods include “illegal or


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 independently tortious conduct,” as well as “unfair competition or unethical conduct.” Mansfield

 v. Anesthesia Assocs., Ltd., 2008 WL 1924029, at *4 (E.D. Va. Apr. 28, 2008). The quintessential

 “[e]xamples” of improper methods are “violence, threats or intimidation, bribery, unfounded

 litigation, fraud, misrepresentation or deceit, defamation, duress, undue influence, misuse of inside

 or confidential information, or breach of a fiduciary relationship.” Peterson v. Cooley, 142 F.3d

 181, 187 (4th Cir. 1998).

           For at least two reasons, Entri’s claim for tortious interference with contract must be

 dismissed.

           First, Entri does not identify whether the contracts GoDaddy purportedly interfered with

 were terminable at will. Indeed, Entri provides almost no details about its supposed contractual

 relationships. Entri merely alleges in conclusory fashion that it “has valid contractual relationships

 with many SaaS companies,” and that the contracts GoDaddy supposedly “interfered with” were

 “Entri’s contracts with         ,         , and        .” FAC ¶¶ 246, 248. But Entri does not allege

 when it entered into these contracts, what their terms were, or (critically) whether they could be

 terminated at will. Entri’s failure to identify whether these contracts were terminable at-will thus

 “make[s] it impossible for the Court to determine the applicable analysis” under Virginia law.

 Nortec, 548 F. Supp. 2d at 232. This requires dismissal. See id. (dismissing tortious interference

 with contract claim when plaintiff “failed to allege whether or not the contract was at-will”).

           Second, assuming the contracts at issue were terminable at will, Entri does not plausibly

 allege that GoDaddy used “improper methods” to interfere with them. While Entri alleges that

 GoDaddy interfered with Entri’s contracts “through ‘scare tactics,’ legal threats, and coercion,”

 Entri supplies no facts to support that allegation. FAC ¶ 49. This “unadorned conclusory

 allegation[]” should therefore be disregarded. See Chistoni v. HSBC Bank USA, N.A., 2017 WL



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 way to connect GoDaddy domains via Domain Connect is with a direct relationship going

 forward”), ¶ 115 (alleging that GoDaddy told             that “Entri Connect was no longer a viable

 option for end users with GoDaddy domains”). 6

           As a result, Entri’s failure to plausibly allege that GoDaddy used “improper methods” to

 interfere with its contractual relationships requires that its tortious interference with contract claim

 be dismissed.

           D.     Count VI: Entri’s Tortious Interference with Business Expectancy Claim
                  Must Be Dismissed.

           To state a claim for tortious interference with a business expectancy, Entri must plausibly

 allege five elements: (1) “the existence of a business relationship or expectancy, with a probability

 of future economic benefit”; (2) GoDaddy’s “knowledge of the relationship or expectancy”; (3) a

 reasonable certainty “that absent intentional misconduct, [Entri] would have continued in the

 relationship or realized the expectancy”; (4) GoDaddy interfered with the relationship or

 expectancy using “improper methods”; and (5) resulting damages. Mansfield, 2008 WL 1924029,

 at *6.

           Entri’s claim for tortious interference with a business expectancy must be dismissed for at

 least two reasons.

           First, for all the reasons explained earlier, Entri does not plausibly allege that GoDaddy

 interfered with any of Entri’s business relationships or expectancies using “improper methods.”

 Supra § III.D. Entri merely repeats the same conclusory allegation for this claim as it asserted for



 6 Entri alleges that a “SaaS company” told Entri about a “scare tactic meeting” it had with
 GoDaddy. FAC ¶ 116. This does not salvage Entri’s claim. Entri does not identify this SaaS
 company, allege that it had a contractual relationship with Entri, or even that this relationship was
 terminated. See id. Regardless, nothing in Entri’s summary of this “conversation with GoDaddy”
 borders on unlawful or otherwise improper conduct, so it cannot satisfy the “improper methods”
 element of Entri’s claim. See id.

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 its tortious interference with contract claim.     See FAC ¶ 255 (alleging that “GoDaddy has

 purposely interfered with several of these prospects through ‘scare tactics,’ legal threats, and

 coercion, and other improper and unlawful tactics”). But once again, the only alleged conduct by

 GoDaddy involving the four business expectancies Entri identifies—

 and               (FAC ¶ 255)—is the legal and truthful act of communicating GoDaddy’s new

 policy. See id. ¶¶ 114–15 (alleging that GoDaddy told                              , and “other SaaS

 companies” that “Entri Connect would no longer work with GoDaddy domains”). This cannot

 constitute “improper methods” as a matter of law. Lee Pappas Body Shop, 2021 WL 3609296,

 at *7.

           Second, Entri does not plausibly allege that GoDaddy knew of any of Entri’s prospective

 business expectancies. The only basis for GoDaddy’s knowledge that Entri identifies is that “Entri

 and GoDaddy had a mutual working relationship between April 2022 and January 2024.” FAC

 ¶ 254.     But Entri does not allege that it ever told GoDaddy about a prospective business

 relationship, much less the four specific prospective relationships at issue. To the contrary, Entri’s

 allegations about GoDaddy’s “working relationship” with Entri show only that, after Entri

 established a contractual relationship with a SaaS company, Entri then approached GoDaddy to

 create a custom “template” that could be used with that SaaS company. See id. ¶¶ 86–90. Entri

 does not identify even a single time it told GoDaddy about one of Entri’s potential future business

 expectancies with a SaaS company before Entri established a relationship with that SaaS company.

 Entri’s allegations thus do not show that GoDaddy knew about Entri’s prospective business

 expectancies, which dooms Entri’s claim. See Belmora LLC v. Bayer Consumer Care AG, 987

 F.3d 284, 297–98 (4th Cir. 2021) (tortious interference with prospective economic advantage claim




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 failed when plaintiff failed to “establish[]” that defendant “had knowledge of its business

 expectancy”).

 IV.       CONCLUSION

           For more than a year, Entri has sought to pressure GoDaddy to agree that Entri may

 monetize its Entri Connect product on GoDaddy’s platform. Entri has now turned to the courtroom

 to compel what it could not obtain through arms-length negotiations. Entri’s attempt to use

 antitrust law as a sword against a competitor, when it exists as a shield for competition, must be

 rejected. Nor can Entri turn GoDaddy’s decision to implement new terms of use for access to its

 platform into tortious interference. GoDaddy respectfully requests that the Court dismiss Counts I,

 V, and VI of Entri’s FAC with prejudice.

 Dated: July 30, 2024                         Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

           I hereby certify that on July 30, 2024, a true and correct copy of the foregoing was served

 using the Court’s CM/ECF system, with electronic notification of such filing to all counsel of

 record.

                                                        /s/ Chad E. Kurtz
                                                        Chad E. Kurtz
                                                        Attorney for Defendant GoDaddy.com, LLC




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